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  6
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  7
  8                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10
 11   FRANK ROTH BETEILIGUNGS                  No.
      GmbH, Individually and on behalf of
 12   all others similarly situated,           CLASS ACTION COMPLAINT
 13                                            FOR VIOLATIONS OF THE
                    Plaintiff,                 FEDERAL SECURITIES LAWS
 14
 15                 v.                         CLASS ACTION
 16   GTT COMMUNICATIONS, INC.,                JURY TRIAL DEMANDED
 17   RICHARD D. CALDER, JR., ERNIE
      ORTEGA, MICHAEL T. SICOLI,
 18
      DANIEL M. FRASER, and STEVEN
 19   BERNS,
 20
                                 Defendants.
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 29               CLASS ACTION COMPLAINT FOR VIOLATIONS OF
 30                      THE FEDERAL SECURITIES LAWS
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  1         Plaintiff Frank Roth Beteiligungs GmbH (“Plaintiff”) alleges the following

  2   upon personal knowledge as to allegations specifically pertaining to Plaintiff and,

  3   as to all other matters, upon the investigation of counsel, which included: (a)
  4   review and analysis of public filings with the United States Securities and
  5   Exchange Commission (“SEC”) made by GTT Communications, Inc. (“GTT” or
  6   the “Company”) and related parties; (b) review and analysis of press releases and
  7   other publications disseminated by GTT and related parties; (c) review and
  8   analysis of shareholder communications, conference calls and postings on GTT’s
  9   website concerning the Company’s public statements; (d) review and analysis of
 10   news articles concerning GTT and related parties; and (e) review of other
 11   publicly available information concerning GTT, related parties, and/or the
 12   Individual Defendants (as defined below).
 13                             NATURE OF THE ACTION
 14         1.     This is a federal securities class action brought on behalf of all
 15
      persons or entities that purchased or otherwise acquired GTT publicly traded
 16
      securities from May 5, 2016 through November 9, 2020, inclusive (the “Class
 17
      Period”), seeking to pursue remedies under the Securities Exchange Act of 1934
 18
      (the “Exchange Act”). Plaintiff alleges that Defendants violated the Exchange
 19
      Act by publishing false and misleading statements to artificially inflate the
 20
      Company’s stock price.
 21
            2.     GTT operates a global communications network, providing
 22
      telecommunications services to large, multinational enterprises, carriers, and
 23
      governments across five continents. Throughout the Class Period, GTT stated
 24
 25   that its internal controls over financial reporting were “effective” and provided

 26   “reasonable assurance” that all required information was being disclosed.

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  1         3.     In truth, GTT’s internal controls over financial reporting were

  2   inadequate, which led to years of inaccurate financial reporting, including failing

  3   to make adequate adjustments to the Company’s Cost of Telecommunication
  4   Services and failing to recognize certain expenses.
  5         4.     As a result of GTT’s inadequate internal controls, the Company
  6   announced after market hours on August 10, 2020 that it would delay its filing of
  7   its quarterly report for the quarter ended June 30, 2020. The Company stated it
  8   had identified “certain issues related to the recording and reporting of Cost of
  9   Telecommunications Services and related internal controls.”
 10         5.     On this news, GTT shares fell by $0.65, or over 11%, from closing
 11   at $5.61 on August 10, 2020 to close at $4.96 on August 11, 2020.
 12         6.     On November 9, 2020, the Company announced its quarterly report
 13   for the quarter ended September 30, 2020 would be delayed as well. The
 14   Company stated the delay was caused by the ongoing review and “examining the
 15
      accounting for Cost of Telecommunications Services and [. . .] a number of issues
 16
      in connection with the Company’s previously issued financial statements”.
 17
            7.     On this news, GTT shares fell by $0.04, or 1%, to close at $3.96 on
 18
      November 9, 2020.
 19
            8.     Plaintiff and the other Class members have suffered significant
 20
      damages due to Defendants’ false and misleading statements and omissions.
 21
                              JURISDICTION AND VENUE
 22
            9.     The claims asserted herein arise under and pursuant to Sections
 23
      10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule
 24
 25   10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

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  1           10.   This Court has jurisdiction over the subject matter of this action

  2   pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.

  3   §78aa).
  4           11.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
  5   1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
  6   misstatements entered, the subsequent damages took place in, and the Company
  7   maintains locations in this judicial district.
  8           12.   In connection with the acts, conduct and other wrongs alleged in this
  9   complaint, defendants, directly or indirectly, used the means and instrumentalities
 10   of interstate commerce, including but not limited to, the United States mails,
 11   interstate telephone communications and the facilities of the national securities
 12   exchange.
 13                                         PARTIES
 14           13.   Plaintiff, as set forth in the accompanying Certification, purchased
 15
      the Company’s securities at artificially inflated prices during the Class Period and
 16
      was damaged upon the revelation of the alleged corrective disclosure.
 17
              14.   Defendant GTT is incorporated in the state of Delaware, and the
 18
      Company’s principal executive offices are located at 7900 Tysons One Place,
 19
      Suite 1450, McLean, VA 22102. GTT securities trade on the New York Stock
 20
      Exchange (“NYSE”) under the symbol “GTT.”
 21
              15.   Defendant Richard D. Calder, Jr. (“Calder”) was the Company’s
 22
      Chief Executive Officer (“CEO”) from the start of the Class Period to May 31,
 23
      2020.
 24
 25           16.   Defendant Ernie Ortega (“Ortega”) was the interim CEO of GTT

 26   from July 6, 2020 through the end of the Class Period.

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  1         17.   Defendant Michael T. Sicoli (“Sicoli”) was the Company’s Chief

  2   Financial Officer (“CFO”) from the start of the Class Period to September 2019.

  3         18.   Defendant Daniel M. Fraser (“Fraser”) was the Company’s interim
  4   CFO from September 2019 to April 6, 2020.
  5         19.   Defendant Steven Berns (“Berns”) was the Company’s CFO from
  6   April 6, 2020 through the end of the Class Period.
  7         20.   Defendants Calder, Ortega, Sicoli, Fraser and Berns are collectively
  8   referred to herein as the “Individual Defendants.”
  9         21.   Each of the Individual Defendants:
 10               (a)    directly participated in the management of the Company;
 11               (b)    was directly involved in the day-to-day operations of the
 12                      Company at the highest levels;
 13               (c)    was privy to confidential proprietary information concerning
 14                      the Company and its business and operations;
 15
                  (d)    was directly or indirectly involved in drafting, producing,
 16
                         reviewing and/or disseminating the false and misleading
 17
                         statements and information alleged herein;
 18
                  (e)    was directly or indirectly involved in the oversight or
 19
                         implementation of the Company’s internal controls;
 20
                  (f)    was aware of or recklessly disregarded the fact that the false
 21
                         and misleading statements were being issued concerning the
 22
                         Company; and/or
 23
                  (g)    approved or ratified these statements in violation of the federal
 24
 25                      securities laws.

 26         22.   The Company is liable for the acts of the Individual Defendants and

 27   its employees under the doctrine of respondeat superior and common law
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  1   principles of agency because all of the wrongful acts complained of herein were

  2   carried out within the scope of their employment.

  3         23.    The scienter of the Individual Defendants and other employees and
  4   agents of the Company is similarly imputed to the Company under respondeat
  5   superior and agency principles.
  6         24.    The Company and the Individual Defendants are referred to herein,
  7   collectively, as the “Defendants.”
  8                           SUBSTANTIVE ALLEGATIONS
  9                           Materially False and Misleading
 10                      Statements Issued During the Class Period
 11         25.    On May 5, 2016, GTT filed a Form 10-Q for the fiscal quarter ended
 12   March 31, 2016 (the “1Q 2016 10-Q”). Attached to the 1Q 2016 10-Q were
 13   certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by
 14   Defendants Calder and Sicoli attesting to the accuracy of financial reporting, the
 15   disclosure of any material changes to the Company’s internal control over
 16
      financial reporting and the disclosure of all fraud.
 17
            26.    The 1Q 2016 10-Q stated the following, in pertinent part, regarding
 18
      GTT’s internal controls:
 19
            Evaluation of Disclosure Controls and Procedures
 20
 21                Our management carried out an evaluation required by Rule
            13a-15 under the Securities Exchange Act of 1934, as amended
 22         (the “Exchange Act”), under the supervision of and with the
 23         participation of our Chief Executive Officer (“CEO”) and Chief
            Financial Officer (“CFO”), of the effectiveness of our disclosure
 24
            controls and procedures as defined in Rule 13a-15 and 15d-15
 25         under the Exchange Act (“Disclosure Controls”). Based on our
 26         evaluation, our CEO and CFO concluded that our disclosure controls
            and procedures are designed at a reasonable assurance level and are
 27         effective to provide reasonable assurance that information we are
 28
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  1        required to disclose in reports that we file or submit under the
           Exchange Act is recorded, processed, summarized and reported
  2        within the time periods specified in Securities and Exchange
  3        Commission rules and forms and that such information is
           accumulated and communicated to our management, including our
  4        CEO and CFO, as appropriate, to allow timely decisions regarding
  5        required disclosure. The CEO and the CFO, with assistance from
           other members of management, have reviewed the effectiveness of
  6        our disclosure controls and procedures as of March 31, 2016, and
  7        based on their evaluation, have concluded that the disclosure
           controls and procedures were effective as of such date.
  8
  9        Changes in Internal Control over Financial Reporting
 10
                 There were no changes in our internal control over financial
 11        reporting, as defined in Rules 13a-15(f) and 15d-15(f) of the
 12        Securities Exchange Act of 1934, that occurred during the period
           ended March 31, 2016 that have materially affected, or are
 13        reasonably likely to materially affect, our internal control over
 14        financial reporting.
 15        (Emphasis added.)
 16        27.   The 1Q 2016 10-Q also stated the following, in relevant part,
 17   regarding GTT’s Cost of Telecommunications Services Provided:
 18        Cost of Telecommunications Services Provided
 19
                 Cost of telecommunication services provided increased by
 20
           $28.5 million, or 75.6%, from $37.7 million for the three months
 21        ended March 31, 2015 to $66.2 million for the three months ended
 22        March 31, 2016. Consistent with our increase in revenue, the
           increase in cost of telecommunication services provided was
 23        principally driven by the acquisitions of MegaPath and One Source.
 24
                 On a constant currency basis using the average exchange rates
 25        in effect during the three months ended March 31, 2015, cost of
 26        telecommunication services provided would have been higher by
           $0.2 million for the three months ended March 31, 2016.
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  1         (Emphasis added.)

  2         28.    On August 8, 2016, the Company filed a Form 10-Q for the fiscal
  3   quarter ended June 30, 2016 (the “2Q 2016 10-Q”). Attached to the 2Q 2016 10-Q
  4   were SOX certifications signed by Defendants Calder and Sicoli attesting to the
  5   accuracy of financial reporting, the disclosure of any material changes to the
  6   Company’s internal control over financial reporting and the disclosure of all fraud.
  7
            29.    The 2Q 2016 10-Q stated, in relevant part, the following regarding
  8
      GTT’s internal controls:
  9
            Evaluation of Disclosure Controls and Procedures
 10
 11                Our management carried out an evaluation required by Rule
            13a-15 under the Securities Exchange Act of 1934, as amended
 12         (the “Exchange Act”), under the supervision of and with the
 13         participation of our Chief Executive Officer (“CEO”) and Chief
            Financial Officer (“CFO”), of the effectiveness of our disclosure
 14         controls and procedures as defined in Rule 13a-15 and 15d-15
 15         under the Exchange Act (“Disclosure Controls”). Based on our
            evaluation, our CEO and CFO concluded that our disclosure controls
 16
            and procedures are designed at a reasonable assurance level and are
 17         effective to provide reasonable assurance that information we are
 18         required to disclose in reports that we file or submit under the
            Exchange Act is recorded, processed, summarized and reported
 19         within the time periods specified in Securities and Exchange
 20         Commission rules and forms and that such information is
            accumulated and communicated to our management, including our
 21         CEO and CFO, as appropriate, to allow timely decisions regarding
 22         required disclosure. The CEO and the CFO, with assistance from
            other members of management, have reviewed the effectiveness of
 23
            our disclosure controls and procedures as of June 30, 2016, and
 24         based on their evaluation, have concluded that the disclosure
 25         controls and procedures were effective as of such date.

 26         Changes in Internal Control over Financial Reporting
 27
                   During the three months ended June 30, 2016, we implemented
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  1         a new financial accounting system. In connection with the
            implementation of this new system, we updated many of the
  2         processes and procedures related to our internal control over financial
  3         reporting, as needed. We do not believe the implementation of the
            new system or the corresponding changes in processes and
  4         procedures has had or will have a material or adverse effect on our
  5         internal control over financing reporting. Except as otherwise
            described above, there have been no other changes in our internal
  6         control over financial reporting (as defined in Rules 13a-15(f) and
  7         15d-15(f) under the Exchange Act) as of June 30, 2016, that has
            materially affected, or is reasonably likely to materially affect our
  8
            internal control over financial reporting.
  9
 10         (Emphasis added.)

 11         30.   The 2Q 2016 10-Q also stated, in relevant part, the following
 12   regarding GTT’s Cost of Telecommunications Services Provided:
 13         Cost of Telecommunications Services Provided
 14
                  Cost of telecommunications services provided increased by
 15
            $16.8 million, or 32.7%, from $51.5 million for the three months
 16         ended June 30, 2015 to $68.3 million for the three months ended
 17         June 30, 2016. Consistent with our increase in revenue, the increase
            in cost of telecommunications services provided was principally
 18         driven by the acquisitions of OSN and Telnes, as well as organic
 19         growth.
                  On a constant currency basis using the average exchange rates
 20         in effect during the three months ended June 30, 2015, cost of
 21         telecommunications services provided would have been higher by
            $0.1 million for the three months ended June 30, 2016.
 22
 23         (Emphasis added.)
 24
            31.   On November 9, 2016, the Company filed a Form 10-Q for the fiscal
 25
      quarter ended September 30, 2016 (the “3Q 2016 10-Q”). Attached to the 3Q
 26
      2016 10-Q were SOX certifications signed by Defendants Calder and Sicoli
 27
      attesting to the accuracy of financial reporting, the disclosure of any material
 28
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   1   changes to the Company’s internal control over financial reporting and the

   2   disclosure of all fraud.

   3         32.    The 3Q 2016 10-Q stated, in relevant part, the following regarding
   4   GTT’s internal controls:
   5         Evaluation of Disclosure Controls and Procedures
   6                Our management carried out an evaluation required by Rule
   7         13a-15 under the Securities Exchange Act of 1934, as amended
             (the “Exchange Act”), under the supervision of and with the
   8
             participation of our Chief Executive Officer (“CEO”) and Chief
   9         Financial Officer (“CFO”), of the effectiveness of our disclosure
  10         controls and procedures as defined in Rule 13a-15 and 15d-15
             under the Exchange Act (“Disclosure Controls”). Based on our
  11         evaluation, our CEO and CFO concluded that our disclosure controls
  12         and procedures are designed at a reasonable assurance level and are
             effective to provide reasonable assurance that information we are
  13         required to disclose in reports that we file or submit under the
  14         Exchange Act is recorded, processed, summarized and reported
             within the time periods specified in Securities and Exchange
  15
             Commission rules and forms and that such information is
  16         accumulated and communicated to our management, including our
  17         CEO and CFO, as appropriate, to allow timely decisions regarding
             required disclosure. The CEO and the CFO, with assistance from
  18         other members of management, have reviewed the effectiveness of
  19         our disclosure controls and procedures as of September 30, 2016,
             and based on their evaluation, have concluded that the disclosure
  20         controls and procedures were effective as of such date.
  21
             Changes in Internal Control over Financial Reporting
  22
  23                There were no changes in our internal control over financial
             reporting (as defined in Rules 13a-15(f) and 15d-15(f) under the
  24
             Exchange Act) as of September 30, 2016, that has materially
  25         affected, or is reasonably likely to materially affect our internal
  26         control over financial reporting.

  27         (Emphasis added.)
  28
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   1
             33.    The 3Q 2016 10-Q also stated the following, in pertinent part,
   2
       regarding GTT’s Cost of Telecommunications Services Provided:
   3
             Cost of Telecommunications Services Provided
   4
   5                Cost of telecommunications services provided increased by
             $14.8 million, or 27.8%, from $53.4 million for the three months
   6         ended September 30, 2015 to $68.2 million for the three months
   7         ended September 30, 2016. Consistent with our increase in revenue,
             the increase in cost of telecommunications services provided was
   8
             principally driven by the acquisitions of OSN and Telnes, as well as
   9         organic growth.
  10                On a constant currency basis using the average exchange rates
             in effect during the three months ended September 30, 2015, cost of
  11         telecommunications services provided would have been higher by
  12         $0.5 million for the three months ended September 30, 2016.
  13         (Emphasis added.)
  14
             34.    On March 8, 2017, the Company filed a Form 10-K for the fiscal
  15
       year ended December 31, 2016 (the “2016 10-K”). Attached to the 2016 10-K
  16
  17   were SOX certifications signed by Defendants Calder and Sicoli attesting to the

  18   accuracy of financial reporting, the disclosure of any material changes to the

  19   Company’s internal control over financial reporting and the disclosure of all fraud.
  20         35.    The 2016 10-K stated, in relevant part, the following regarding
  21   GTT’s internal controls:
  22         Management’s Report on Internal Control over Financial
             Reporting and Attestation Report of the Registered Public
  23
             Accounting Firm
  24
                   Our management is responsible for establishing and
  25         maintaining adequate internal control over financial reporting (as
  26         defined in Rule 13a-15(f) under the Exchange Act). Management
             conducted an assessment of the effectiveness of our internal control
  27
             over financial reporting based on the criteria set forth in Internal
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   1        Control - Integrated Framework issued by the Committee of
            Sponsoring Organizations of the Treadway Commission (2013
   2        framework). Based on the assessment, management has concluded
   3        that its internal control over financial reporting was effective as of
            December 31, 2016, to provide reasonable assurance regarding the
   4        reliability of financial reporting and the preparation of financial
   5        statements in accordance with U.S. GAAP. The effectiveness of our
            internal control over financial reporting as of December 31, 2016, has
   6        been audited by CohnReznick LLP, an independent registered public
   7        accounting firm, as stated in their report, which appears herein.
   8        Changes in Internal Control Over Financial Reporting
   9
                   During the year ended December 31, 2016, we implemented a
  10        new financial accounting system.           In connection with the
  11        implementation of this new system, we updated many of the
            processes and procedures related to our internal control over financial
  12        reporting, as needed. We do not believe the implementation of the
  13        new system or the corresponding changes in processes and
            procedures has had or will have a material or adverse effect on our
  14        internal control over financing reporting. Except as otherwise
  15        described above, there were no other changes in our internal
            control over financial reporting (as defined in Rules 13a-15(f) and
  16
            15d-15(f) under the Exchange Act) during the quarter ended
  17        December 31, 2016, that has materially affected, or is reasonably
  18        likely to materially affect our internal control over financial
            reporting.
  19
            (Emphasis added.)
  20
  21        36.   The 2016 10-K also stated the following, in pertinent part, regarding

  22   GTT’s Cost of Telecommunications Services Provided:

  23        Cost of Telecommunications Services Provided

  24               Cost of telecommunications services provided increased by
  25        $69.6 million, or 34.0%, from $204.5 million for the year ended
            December 31, 2015 to $274.0 million for the year ended December
  26        31, 2016. Consistent with our increase in revenue, the increase in cost
  27        of telecommunications services provided was principally driven by
            the Acquisitions, as well as organic growth and the purchase of
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   1         certain customer contracts.
                    On a constant currency basis using the average exchange rates
   2         in effect during the year ended December 31, 2015, cost of
   3         telecommunications services provided would have been higher by
             $1.0 million for the year ended December 31, 2016.
   4
   5         (Emphasis added.)
   6         37.    On March 1, 2018, the Company filed a Form 10-K for the fiscal
   7
       year ended December 31, 2017 (the “2017 10-K”). Attached to the 2017 10-K
   8
       were SOX certifications signed by Defendants Calder and Sicoli attesting to the
   9
       accuracy of financial reporting, the disclosure of any material changes to the
  10
       Company’s internal control over financial reporting and the disclosure of all fraud.
  11
             38.    The 2017 10-K stated, in pertinent part, the following regarding
  12
       GTT’s internal controls:
  13
             Management’s Report on Internal Control over Financial
  14         Reporting and Attestation Report of the Registered Public
  15         Accounting Firm
  16                Our management is responsible for establishing and
  17         maintaining adequate internal control over financial reporting (as
             defined in Rule 13a-15(f) under the Exchange Act). Management
  18         conducted an assessment of the effectiveness of our internal control
  19         over financial reporting based on the criteria set forth in Internal
             Control - Integrated Framework issued by the Committee of
  20
             Sponsoring Organizations of the Treadway Commission (2013
  21         framework). Based on the assessment, management has concluded
  22         that its internal control over financial reporting was effective as of
             December 31, 2017, to provide reasonable assurance regarding the
  23         reliability of financial reporting and the preparation of financial
  24         statements in accordance with U.S. GAAP. The effectiveness of our
             internal control over financial reporting as of December 31, 2017, has
  25         been audited by CohnReznick LLP, an independent registered public
  26         accounting firm, as stated in their report, which appears herein.
  27
             Changes in Internal Control Over Financial Reporting
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   1
                    Except for the implementation of certain internal controls
   2         related to the adoption of the new revenue recognition standard
   3         (Topic 606), there were no changes in our internal control over
             financial reporting (as defined in Rules 13a-15(f) and 15d-15(f)
   4         under the Exchange Act) during the year ended December 31, 2017,
   5         that materially affected, or are reasonably likely to materially
             affect, our internal control over financial reporting. The Company
   6         implemented new controls as part of its effort to adopt Topic 606.
   7         The adoption of Topic 606 required the implementation of new
             accounting processes, which changed the Company's internal controls
   8
             over revenue recognition and financial reporting. We implemented
   9         these internal controls to ensure we adequately evaluated our
  10         contracts and properly assessed the impact of Topic 606 on our
             financial statements to facilitate its adoption in 2018.
  11
             (Emphasis added.)
  12
  13         39.   The 2017 10-K also stated the following, in pertinent part, regarding

  14   GTT’s Cost of Telecommunications Services Provided:

  15         Cost of Telecommunications Services Provided
  16                Cost of telecommunications services provided increased by
  17         $152.5 million, or 54.5%, from $279.6 million for the year ended
             December 31, 2016 to $432.1 million for the year ended December
  18         31, 2017. Consistent with our increase in revenue, the increase in cost
  19         of telecommunications services provided was principally driven by
             2017 Acquisitions and the purchase of certain customer contracts.
  20
                    On a constant currency basis using the average exchange rates
  21         in effect during the year ended December 31, 2016, cost of
  22         telecommunications services provided would have been higher by
             $1.0 million for the year ended December 31, 2017.
  23
  24         (Emphasis added.)
  25         40.   On March 1, 2019, the Company filed a Form 10-K for the fiscal
  26   year ended December 31, 2018 (the “2018 10-K”). Attached to the 2018 10-K
  27
       were SOX certifications signed by Defendants Calder and Sicoli attesting to the
  28
                                       13
  29
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   1   accuracy of financial reporting, the disclosure of any material changes to the

   2   Company’s internal control over financial reporting and the disclosure of all fraud.

   3         41.    The 2018 10-K stated, in pertinent part, the following regarding
   4   GTT’s internal controls:
   5         Management’s Report on Internal Control over Financial
             Reporting and Audit Report of the Registered Public Accounting
   6         Firm
   7                Our management is responsible for establishing and
             maintaining adequate internal control over financial reporting (as
   8
             defined in Rule 13a-15(f) under the Exchange Act). Management
   9         conducted an assessment of the effectiveness of our internal control
  10         over financial reporting based on the criteria set forth in Internal
             Control - Integrated Framework issued by the Committee of
  11         Sponsoring Organizations of the Treadway Commission (2013).
  12         Based on the assessment, management has concluded that its
             internal control over financial reporting was effective as of
  13         December 31, 2018, to provide reasonable assurance regarding the
  14         reliability of financial reporting and the preparation of financial
             statements in accordance with U.S. GAAP. The effectiveness of our
  15
             internal control over financial reporting as of December 31, 2018, has
  16         been audited by CohnReznick LLP, an independent registered public
  17         accounting firm, as stated in their report, which appears herein.

  18         Changes in Internal Control Over Financial Reporting
  19
                    Except for the 1) Company's design and implementation of
  20         new and enhanced controls to remediate the material weakness
  21         described above, and 2) the implementation of certain internal
             controls related to the adoption of the new leasing standard (Topic
  22         842), there were no changes in our internal control over financial
  23         reporting (as defined in Rules 13a-15(f) and 15d-15(f) under the
             Exchange Act) during the three months ended December 31, 2018,
  24
             that materially affected, or are reasonably likely to materially
  25         affect, our internal control over financial reporting. The Company
  26         implemented new controls as part of its effort to adopt Topic 842.
             The adoption of Topic 842 required the implementation of new
  27         accounting processes, which changed the Company's internal controls
  28
                                       14
  29
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   1         over lease accounting. We implemented these internal controls to
             ensure we adequately evaluated our leases and properly assessed the
   2         impact of Topic 842 on our financial statements to facilitate its
   3         adoption in 2019.
   4         (Emphasis added.)
   5         42.    The 2018 10-K also stated, in relevant part, the following regarding
   6   GTT’s Cost of Telecommunications Services:
   7         Cost of Telecommunications Services
   8
                   Cost of telecommunications services increased by $387.3
   9         million, or 89.6%, from $432.1 million for the year ended
  10         December 31, 2017 to $819.4 million for the year ended December
             31, 2018. Recurring cost of telecommunications services was
  11
             approximately 94% and 95% of total cost of telecommunications
  12         services for the year ended December 31, 2018 and 2017,
  13         respectively. Consistent with our increase in revenue, the increase in
             cost of telecommunications services was principally driven by the
  14         2017 Acquisitions and 2018 Acquisitions.
  15               On a constant currency basis using the average exchange rates
             in effect during the year ended December 31, 2017, cost of
  16         telecommunications services would have been lower by $12.2
  17         million for the year ended December 31, 2018.
  18         (Emphasis added.)
  19
             43.    On March 2, 2020, the Company filed a Form 10-K for the fiscal
  20
  21   year ended December 31, 2019 (the “2019 10-K”). Attached to the 2019 10-K

  22   were SOX certifications signed by Defendants Calder and Fraser attesting to the

  23   accuracy of financial reporting, the disclosure of any material changes to the
  24   Company’s internal control over financial reporting and the disclosure of all fraud.
  25         44.    The 2019 10-K stated the following, in relevant part, about GTT’s
  26   internal controls:
  27         Management’s Annual Report on Internal Control over
             Financial Reporting
  28
                                       15
  29
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   1              Our management is responsible for establishing and
            maintaining adequate internal control over financial reporting (as
   2        defined in Rule 13a-15(f) under the Exchange Act). Management
   3        conducted an assessment of the effectiveness of our internal control
            over financial reporting based on the criteria set forth in Internal
   4        Control - Integrated Framework (2013) issued by the Committee of
   5        Sponsoring Organizations of the Treadway Commission. Based on
            the assessment, management has concluded that our internal
   6        control over financial reporting was effective as of December 31,
   7        2019, to provide reasonable assurance regarding the reliability of
            financial reporting and the preparation of financial statements in
   8
            accordance with U.S. GAAP. The effectiveness of our internal
   9        control over financial reporting as of December 31, 2019, has been
  10        audited by CohnReznick LLP, an independent registered public
            accounting firm, as stated in its report, which appears herein.
  11
  12        Changes in Internal Control Over Financial Reporting
  13               Except for the Company’s design and implementation of
  14        certain controls related to the adoption of the new leases standard
            (ASC 842), there were no changes in our internal control over
  15
            financial reporting (as defined in Rules 13a-15(f) and 15d-15(f)
  16        under the Exchange Act) during the year ended December 31, 2019,
  17        that have materially affected, or are reasonably likely to materially
            affect our internal control over financial reporting. The Company
  18        implemented new controls as part of its effort to adopt Topic 842.
  19        The adoption of Topic 842 required the implementation of new
            accounting processes, which changed the Company's internal controls
  20        over lease accounting. We implemented these internal controls to
  21        ensure we adequately evaluated our leases and properly assessed the
            impact of Topic 842 on our financial statements to facilitate its
  22        adoption in 2019.
  23
            (Emphasis added.)
  24
            45.   The 2019 10-K stated the following, in pertinent part, about GTT’s
  25
       Cost of Telecommunications Services:
  26
            Cost of Telecommunications Services
  27
  28
                                      16
  29
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   1               Cost of telecommunications services increased by $122.5
             million, or 14.9%, from $819.4 million for the year ended
   2         December 31, 2018 to $941.9 million for the year ended December
   3         31, 2019. Recurring cost of telecommunications services was
             approximately 93% and 94% of total cost of telecommunications
   4         services for the years ended December 31, 2019 and 2018,
   5         respectively. Consistent with our increase in revenue, the increase in
             cost of telecommunications services was principally driven by the
   6         2018 Acquisitions.
   7               On a constant currency basis using the average exchange rates
             in effect during the year ended December 31, 2018, cost of
   8
             telecommunications services would have been higher by $21.6
   9         million for the year ended December 31, 2019.
  10
             (Emphasis added.)
  11
  12         46.    The above statements in paragraphs 25-45 were materially false
  13   and/or misleading and failed to disclose material adverse facts about the
  14   Company’s business, operations, and prospects. Specifically, Defendants failed to
  15   disclose that: (1) the Company’s internal controls suffered from issues related to
  16   the recording and reporting of Cost of Telecommunications Services; (2) the
  17   Company’s previously reported Cost of Telecommunications was inaccurate or
  18   accounted for unsupported adjustments; (3) inadequate internal controls would
  19   result in delays in the Company’s 10-Q quarterly reports; and (4) as a result of the
  20   foregoing, Defendants’ public statements were materially false and/or misleading
  21   and/or lacked a reasonable basis.
  22                               THE TRUTH EMERGES
  23
             47.    On August 10, 2020, after market hours, GTT filed a NT 10-Q
  24
       notification of inability to timely file Form 10-Q for the quarter ended June 30,
  25
       2020 (“2Q NT 10-Q”).
  26
             48.    The 2Q NT 10-Q stated, in relevant part, the following regarding the
  27
       delay in the quarterly report:
  28
                                       17
  29
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   1               GTT Communications, Inc. (the “Company”) is unable to file
             its Quarterly Report on Form 10-Q for the quarter ended June 30,
   2         2020 (the “Form 10-Q”) within the prescribed time period without
   3         unreasonable effort or expense. In the course of closing the
             Company’s books for the quarter ended June 30, 2020, the
   4         Company identified certain issues related to the recording and
   5         reporting of Cost of Telecommunications Services and related
             internal controls.
   6
   7               Upon identifying these issues, the Company informed the
             Audit Committee of the Board of Directors (the “Audit Committee”)
   8         and CohnReznick LLP, the Company’s independent registered public
   9         accounting firm (the “Independent Auditor”). The Company’s
             management and the Audit Committee, with assistance from
  10         outside counsel and consultants, are reviewing (the “Review”)
  11         these issues and assessing the effect, if any, on the Company’s
             financial statements for the quarter ended June 30, 2020 and
  12
             previously issued financial statements, as well as whether there are
  13         any material weaknesses in the Company’s internal controls.
  14
                    At this time, the Company does not know whether the Review
  15         will identify any issues other than those described above. Although
  16         the Company plans to file the Form 10-Q as soon as possible after the
             completion of the Review, the Company does not anticipate filing the
  17         Form 10-Q on or before August 17, 2020, the extended period
  18         provided for the filing under Rule 12b-25(b) of the Securities
             Exchange Act of 1934, as amended. The Company is unable to
  19
             predict a specific filing date at this time due to the early stage of the
  20         Review.
  21         (Emphasis added.)
  22         49.   On this news, GTT shares fell by $0.65, or over 11%, from closing
  23
       at $5.61 on August 10, 2020 to close at $4.96 on August 11, 2020.
  24
             50.   On November 9, 2020, GTT filed a NT 10-Q notification of inability
  25
       to timely file Form 10-Q for the quarter ended September 30, 2020 (“3Q NT 10-
  26
       Q”). GTT had yet to file a 10-Q for its second quarter.
  27
             51.   The 3Q NT 10-Q stated, in relevant part, the following regarding the
  28
                                       18
  29
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   1   delay in the quarterly report:

   2               As reported by the Company in its prior filings with the
             Securities and Exchange Commission (the “SEC”), in the course of
   3         closing the Company’s books for the quarter ended June 30, 2020,
   4         the Company identified certain issues related to the recording and
             reporting of Cost of Telecommunications Services and related
   5         internal controls. The Company’s management and the Audit
   6         Committee (the “Audit Committee”) of the Company’s Board of
             Directors (the “Board”), with assistance from outside counsel and
   7
             consultants, commenced a review (the “Review”) with respect to
   8         these issues and are assessing the effect, if any, on the Company’s
   9         unissued and previously issued financial statements, as well as
             whether there are any material weaknesses in the Company’s internal
  10         controls.
  11
                    In addition, as previously disclosed, the Review is examining
  12         the accounting for Cost of Telecommunications Services and has
  13         identified a number of issues in connection with the Company’s
             previously issued financial statements, including: (i) adjustments
  14         made without adequate support to Cost of Telecommunications
  15         Services during the year ended December 31, 2019 and the three
             months ended March 31, 2020 that had the effect of removing
  16
             expenses from the Company’s income statement at quarter-end and
  17         then recognizing certain of those expenses in subsequent quarters;
  18         and (ii) failures during the years ended December 31, 2018 and
             2017 to recognize certain expenses on the Company’s income
  19         statement by recording such expenses to goodwill and thereby
  20         attributing such expenses to pre-acquisition accruals, without
             adequate support, for companies that had been acquired. In addition,
  21         the Review is also examining: (x) certain intercompany
  22         transactions recorded during the years ended December 31, 2019,
             2018, 2017 and 2016, and each of the quarters during the years
  23
             ended December 31, 2019, 2018, 2017 and 2016; (y) accounting for
  24         bad debt expense during the year ended December 31, 2019; and (z)
  25         accounting for credits issued to customers during the years ended
             December 31, 2019 and 2018 and the three months ended March 31,
  26         2020.
  27
                    Furthermore, as disclosed in prior filings with the SEC, the
  28
                                       19
  29
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   1         Company is also reassessing its previous conclusions regarding the
             effectiveness of its internal control over financial reporting. At the
   2         conclusion of the Review, the Company expects the Review to
   3         identify material weaknesses in the Company’s internal control over
             financial reporting, and the Company intends to continue to evaluate
   4         and implement remedial measures to address any such material
   5         weaknesses.
   6                At this time, the Company has not concluded its Review and
   7         there is no assurance that additional items will not be identified. The
             Company’s management and the Audit Committee, with assistance
   8
             from outside counsel and consultants, are continuing to assess the
   9         effect of the matters described above on the Company’s financial
  10         statements for the years ended December 31, 2019, 2018, 2017 and
             2016, each of the quarters during the years ended December 31,
  11         2019, 2018, 2017 and 2016 and the quarter ended March 31, 2020.
  12         As of the date of filing this Form 12b-25, the Company is unable to
             estimate the total potential impact of the issues described herein on
  13         its previously issued financial statements.
  14
             (Emphasis added.)
  15
             52.   On this news, GTT shares fell by $0.04, or 1%, from opening at
  16
       $4.00 on November 9, 2020 to close at $3.96.
  17
             53.   As a result of Defendants’ wrongful acts and omissions, and the
  18
       precipitous decline in the market value of the Company’s securities, Plaintiff and
  19
       other Class members have suffered significant losses and damages.
  20
  21                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

  22         54.   Plaintiff brings this action as a class action pursuant to Federal Rule

  23   of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
  24   other than defendants who acquired GTT securities publicly traded on the NYSE
  25   during the Class Period, and who were damaged thereby (the “Class”). Excluded
  26   from the Class are Defendants, the officers and directors of GTT and its
  27   subsidiaries, members of the Individual Defendants’ immediate families and their
  28
                                       20
  29
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   1   legal representatives, heirs, successors or assigns and any entity in which

   2   Defendants have or had a controlling interest.

   3         55.    The members of the Class are so numerous that joinder of all
   4   members is impracticable. Throughout the Class Period, GTT securities were
   5   actively traded on the NYSE. While the exact number of Class members is
   6   unknown to Plaintiff at this time and can be ascertained only through appropriate
   7   discovery, Plaintiff believes that there are hundreds, if not thousands of members
   8   in the proposed Class.
   9         56.    Plaintiff’s claims are typical of the claims of the members of the
  10   Class as all members of the Class are similarly affected by defendants’ wrongful
  11   conduct in violation of federal law that is complained of herein.
  12         57.    Plaintiff will fairly and adequately protect the interests of the
  13   members of the Class and has retained counsel competent and experienced in
  14   class and securities litigation. Plaintiff has no interests antagonistic to or in
  15
       conflict with those of the Class.
  16
             58.    Common questions of law and fact exist as to all members of the
  17
       Class and predominate over any questions solely affecting individual members of
  18
       the Class. Among the questions of law and fact common to the Class are:
  19
             •      whether the Exchange Act was violated by Defendants’ acts as
  20
                    alleged herein;
  21
             •      whether statements made by Defendants to the investing public
  22
  23                during the Class Period misrepresented material facts about the

  24                financial condition and business of GTT;

  25         •      whether Defendants’ public statements to the investing public during
  26                the Class Period omitted material facts necessary to make the
  27
  28
                                       21
  29
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   1                   statements made, in light of the circumstances under which they

   2                   were made, not misleading;

   3         •         whether the Defendants caused GTT to issue false and misleading
   4                   filings during the Class Period;
   5         •         whether Defendants acted knowingly or recklessly in issuing false
   6                   filings;
   7         •         whether the prices of GTT securities during the Class Period were
   8                   artificially inflated because of the Defendants’ conduct complained
   9                   of herein; and
  10         •         whether the members of the Class have sustained damages and, if so,
  11
                       what is the proper measure of damages.
  12
             59.       A class action is superior to all other available methods for the fair
  13
       and efficient adjudication of this controversy since joinder of all members is
  14
       impracticable. Furthermore, as the damages suffered by individual Class
  15
       members may be relatively small, the expense and burden of individual litigation
  16
       make it impossible for members of the Class to individually redress the wrongs
  17
       done to them. There will be no difficulty in the management of this action as a
  18
       class action.
  19
             60.       Plaintiff will rely, in part, upon the presumption of reliance
  20
  21   established by the fraud-on-the-market doctrine in that:

  22         •         GTT shares met the requirements for listing, and were listed and
  23                   actively traded on the NYSE, an efficient market;
  24         •         As a public issuer, GTT filed periodic public reports;
  25         •         GTT regularly communicated with public investors via established
  26                   market communication mechanisms, including through the regular
  27                   dissemination of press releases via major newswire services and
  28
                                       22
  29
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   1                through     other    wide-ranging     public   disclosures,   such   as

   2                communications with the financial press and other similar reporting

   3                services;
   4         •      GTT’s securities were liquid and traded with sufficient volume
   5                during the Class Period; and
   6         •      GTT was followed by a number of securities analysts employed by
   7                major brokerage firms who wrote reports that were widely
   8                distributed and publicly available.
   9         61.    Based on the foregoing, the market for GTT securities promptly
  10   digested current information regarding GTT from all publicly available sources
  11   and reflected such information in the prices of the securities, and Plaintiff and the
  12   members of the Class are entitled to a presumption of reliance upon the integrity
  13
       of the market.
  14
             62.    Alternatively, Plaintiff and the members of the Class are entitled to
  15
       the presumption of reliance established by the Supreme Court in Affiliated Ute
  16
       Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants
  17
       omitted material information in their Class Period statements in violation of a
  18
       duty to disclose such information as detailed above.
  19
                                             COUNT I
  20
         For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
  21
                                  Against All Defendants
  22
             63.    Plaintiff repeats and realleges each and every allegation contained
  23
       above as if fully set forth herein.
  24
             64.    This Count is asserted against Defendants is based upon Section
  25
       10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
  26
  27   thereunder by the SEC.

  28
                                       23
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   1           65.    During the Class Period, Defendants, individually and in concert,

   2   directly or indirectly, disseminated or approved the false statements specified

   3   above, which they knew or deliberately disregarded were misleading in that they
   4   contained misrepresentations and failed to disclose material facts necessary in
   5   order to make the statements made, in light of the circumstances under which
   6   they were made, not misleading.
   7           66.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that
   8   they:
   9                 •     employed devices, schemes and artifices to defraud;
  10                 •     made untrue statements of material facts or omitted to state
  11                       material facts necessary in order to make the statements made,
  12                       in light of the circumstances under which they were made, not
  13
                           misleading; or
  14
                     •     engaged in acts, practices and a course of business that
  15
                           operated as a fraud or deceit upon plaintiff and others similarly
  16
                           situated in connection with their purchases of GTT securities
  17
                           during the Class Period.
  18
               67.   Defendants acted with scienter in that they knew that the public
  19
       documents and statements issued or disseminated in the name of GTT were
  20
       materially false and misleading; knew that such statements or documents would
  21
  22   be issued or disseminated to the investing public; and knowingly and

  23   substantially participated, or acquiesced in the issuance or dissemination of such

  24   statements or documents as primary violations of the securities laws. These
  25   Defendants by virtue of their receipt of information reflecting the true facts of
  26   GTT, their control over, and/or receipt and/or modification of GTT’s allegedly
  27   materially misleading statements, and/or their associations with the Company
  28
                                         24
  29
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   1   which made them privy to confidential proprietary information concerning GTT,

   2   participated in the fraudulent scheme alleged herein.

   3           68.    Individual Defendants, who are the senior officers and/or directors
   4   of the Company, had actual knowledge of the material omissions and/or the
   5   falsity of the material statements set forth above, and intended to deceive Plaintiff
   6   and the other members of the Class, or, in the alternative, acted with reckless
   7   disregard for the truth when they failed to ascertain and disclose the true facts in
   8   the statements made by them or other GTT personnel to members of the investing
   9   public, including Plaintiff and the Class.
  10           69.   As a result of the foregoing, the market price of GTT securities was
  11   artificially inflated during the Class Period. In ignorance of the falsity of
  12   Defendants’ statements, Plaintiff and the other members of the Class relied on the
  13   statements described above and/or the integrity of the market price of GTT
  14   securities during the Class Period in purchasing GTT securities at prices that were
  15
       artificially inflated as a result of Defendants’ false and misleading statements.
  16
               70.   Had Plaintiff and the other members of the Class been aware that the
  17
       market price of GTT securities had been artificially and falsely inflated by
  18
       Defendants’ misleading statements and by the material adverse information
  19
       which Defendants did not disclose, they would not have purchased GTT
  20
       securities at the artificially inflated prices that they did, or at all.
  21
               71.    As a result of the wrongful conduct alleged herein, Plaintiff and
  22
       other members of the Class have suffered damages in an amount to be established
  23
       at trial.
  24
  25           72.   By reason of the foregoing, Defendants have violated Section 10(b)

  26   of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the

  27   plaintiff and the other members of the Class for substantial damages which they
  28
                                         25
  29
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   1   suffered in connection with their purchase of GTT securities during the Class

   2   Period.

   3                                        COUNT II
   4                    Violations of Section 20(a) of the Exchange Act
                              Against the Individual Defendants
   5
   6         73.    Plaintiff repeats and realleges each and every allegation contained in

   7   the foregoing paragraphs as if fully set forth herein.
   8         74.    During the Class Period, the Individual Defendants participated in
   9   the operation and management of GTT, and conducted and participated, directly
  10   and indirectly, in the conduct of GTT’s business affairs. Because of their senior
  11   positions, they knew the adverse non-public information about GTT’s
  12   misstatement of revenue and profit and false financial statements.
  13         75.    As officers and/or directors of a publicly owned company, the
  14   Individual Defendants had a duty to disseminate accurate and truthful information
  15   with respect to GTT’s financial condition and results of operations, and to correct
  16   promptly any public statements issued by GTT which had become materially
  17   false or misleading.
  18         76.     Because of their positions of control and authority as senior officers,
  19
       the Individual Defendants were able to, and did, control the contents of the
  20
       various reports, press releases and public filings which GTT disseminated in the
  21
       marketplace during the Class Period concerning GTT’s results of operations.
  22
       Throughout the Class Period, the Individual Defendants exercised their power
  23
       and authority to cause GTT to engage in the wrongful acts complained of herein.
  24
       The Individual Defendants therefore, were “controlling persons” of GTT within
  25
       the meaning of Section 20(a) of the Exchange Act. In this capacity, they
  26
       participated in the unlawful conduct alleged which artificially inflated the market
  27
       price of GTT securities.
  28
                                       26
  29
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   1          77.   By reason of the above conduct, the Individual Defendants are liable

   2   pursuant to Section 20(a) of the Exchange Act for the violations committed by

   3   GTT.
   4                                PRAYER FOR RELIEF
   5          WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
   6   judgment and relief as follows:
   7          (a)   declaring this action to be a proper class action, designating plaintiff
   8   as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of
   9   the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead
  10   Counsel;
  11          (b)   awarding damages in favor of plaintiff and the other Class members
  12   against all defendants, jointly and severally, together with interest thereon;
  13          awarding plaintiff and the Class reasonable costs and expenses incurred in
  14   this action, including counsel fees and expert fees; and
  15
              (d)   awarding plaintiff and other members of the Class such other and
  16
       further relief as the Court may deem just and proper.
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                                  JURY TRIAL DEMANDED
  18
              Plaintiff hereby demands a trial by jury.
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  20
  21   Dated: January 12, 2021                 THE ROSEN LAW FIRM, P.A.
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                    CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                       THE FEDERAL SECURITIES LAWS
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